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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                    United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                        (For Offenses Committed On or After November 1, 1987)
                               v.                                       Case Number: 2:16CR00183-001

                                                                        Byron Donovan, CLS, Office of the Federal Defender
              LAWRENZO C.P. MANZA                                       Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to Count: 1 of the Information .
[]       pleaded nolo contendere to counts(s)        which was accepted by the court.
[]       was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                           Date Offense           Count
Title & Section                     Nature of Offense                                      Concluded              Number(s)
16 U.S.C. § 470ee(a) and (d)        Excavation and Removal of Archaeological               October 2011           1
                                    Resources from Public Lands
                                    (Class A Misdemeanor)



       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)            and is discharged as to such count(s).

[U]      Count 2 of the Information is dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[U]      Appeal rights given.                          []       Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                           2/6/2017
                                                                Date of Imposition of Judgment




                                                                Signature of Judicial Officer

                                                                EDMUND F. BRENNAN, United States Magistrate Judge
                                                                Name & Title of Judicial Officer

                                                                February 14, 2017
                                                                Date
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AO 245B-CAED (Rev. 09/2011) Sheet 4 - Probation
CASE NUMBER:               2:16CR00183-001                                                                  Judgment - Page 2 of 4
DEFENDANT:                 LAWRENZO C.P. MANZA


                                                  COURT PROBATION
The defendant is hereby sentenced to Court probation for a term of 1 year subject to the following special conditions:


                                    SPECIAL CONDITIONS OF SUPERVISION

1.       The Defendant agrees he is jointly and severally liable with co-defendant Timothy A. Moffatt to pay restitution to
         the United States Forest Service, an agency of the United States Department of Agriculture, in the amount of
         $7,314.96; the parties agree defendant shall not be liable for this amount upon Mr. Moffatt's full payment of
         restitution pursuant to his Deferred Prosecution Agreement.

2.       The Defendant agrees to work with the United States Forest Service and Bureau of Land Management personnel
         in the making of a video public service announcement regarding unauthorized removal of archaeological resources
         from federal lands, by appearing in such video.

3.       The Defendant agrees to perform 25 hours of community service at a location agreed upon by the United States
         Attorney's Office within 30 days of sentencing.

4.       Defendant agrees not to use metal detectors on any federal lands.

5.       The Defendant agrees not to perform any unauthorized digging or excavation on federal lands, including for the
         purpose of removing archaeological resources or historical resources.

6.       The Defendant shall not commit another Federal, State, or local crime.

7.       The Defendant shall not unlawfully possess a controlled substance.

8.       The Defendant shall pay the $25.00 special assessment.

9.       The Defendant shall notify the Court of any material change in the Defendant's economic circumstances that might
         affect the Defendant's ability to pay restitution, fines, or special assessments.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:16CR00183-001                                                                           Judgment - Page 3 of 4
DEFENDANT:                    LAWRENZO C.P. MANZA


                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                           Fine                  Restitution
      Totals:                                         $25.00                              $                    $7,314.96


[]    The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I),
      all nonfederal victims must be paid before the United States is paid.




Name of Payee                                        Total Loss*                  Restitution Ordered Priority or Percentage
United States Forest Service                          $7,314.96                        $7,314.96               100%
Albuquerque Service Center
101B Sun Avenue
Albuquerque, New Mexico 87109

      TOTALS:                                        $7,314.96                        $7,314.96                  100%


[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
      before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived for the                   [ ] fine          [ ] restitution

      [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:

[]    If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
      and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]    If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
      and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:16CR00183-001                                                                            Judgment - Page 4 of 4
DEFENDANT:                   LAWRENZO C.P. MANZA

                                                 SCHEDULE OF PAYMENTS
 Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,      [ ] D,   [ ] E, or   [ ] F below; or

B    [U]           Payment to begin immediately (may be combined with             [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of                (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within     (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[U] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate: Co-Defendant Timothy A. Moffatt, 2:16CR00183-002.




[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including costs of prosecution and court
costs.
